         Case 1:21-cr-00447-CJN Document 184 Filed 02/09/23 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,  :
                           :
 v.                        : No. 1:21-cr-00447-CJN-03
                           :
JOSHUA CHRISTOPHER DOOLIN, :
 et al.                    :


        DEFENDANT’S UNOPPOSED MOTION FOR AUTHORIZATION
           OF DAILY TRANSCRIPTS OF TRIAL PROCEEDINGS

        Comes now Defendant, Mr. Joshua C. Doolin, by and through his attorney

Allen Orenberg, to respectfully request the entry of an Order authorizing daily

transcripts of trial proceedings, pursuant to the Criminal Justice Act. As grounds,

the following is stated:

        1.   A trial is scheduled for March 6, 2023, and is expected “to run” for 6-8

days.

        2.   Ms. Elita Amato, counsel for co-defendant Oliva M. Pollock, joins in

this request. Ms. Amato is appointed by the Court.(CJA)

        3.   Undersigned counsel is a solo practitioner and appointed (CJA) by the

Court. The requested daily transcripts are necessary since, during the trial itself,

counsel will not be able to take contemporaneous and comprehensive notes of the

trial testimony, bench conferences, etc.




                                           -1-
        Case 1:21-cr-00447-CJN Document 184 Filed 02/09/23 Page 2 of 2




      4.     Production of the requested daily transcripts should assure the Court

that counsel – for both the defendant and the government – will make accurate

references to admitted trial evidence during closing arguments, as well as provide a

simultaneous record to refer to if any objections/disputes arise during the trial.

      5.     Upon the Court granting this motion, counsel will initiate a CJA-24

through eVoucher, requesting the daily transcripts.

      WHEREFORE, for the foregoing reasons and such other reasons which may

appear just and proper, Mr. Joshua C. Doolin, by and through his attorney Allen

Orenberg, respectfully requests the entry of an Order authorizing daily transcripts

of trial proceedings, pursuant to the Criminal Justice Act.

                                        Respectfully Submitted,


                                         Allen H. Digitally           signed by
                                                             Allen H. Orenberg

                                         Orenberg            Date: 2023.02.09
                                                             17:08:53 -05'00'
                                        ____________________________
                                        Allen H. Orenberg, # 395519
                                        The Orenberg Law Firm, P.C.
                                        12505 Park Potomac Avenue, 6 th Floor
                                        Potomac, Maryland 20854
                                        Tel. No. (301) 984-8005
                                        Fax No. (301) 984-8008
                                        Cell-Phone (301) 807-3847
                                        aorenberg@orenberglaw.com
                                        Counsel for Joshua C. Doolin


Dated: February 9, 2023




                                          -2-
